IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

 

UNITED STATES OF AMERICA, CRIMINAL NO. 21-366 (FAB)
Plaintiff, and 22-205: (FAB),
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Juan Manuel Vazquez-Diaz, . OF Fon?
Defendant. =
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PLEA AND FORFEITURE AGREEMENT "e, Wajy PUR 3

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TO THE HONORABLE COURT:

The United States of America, Defendant, Juan Manuel Vazquez-Diaz, and
Defendant’s counsels, Rafael Castro-Lang in case 21-366 (FAB) and Ismael Rodriguez
in case 22-205 (FAB), Esq., pursuant to Federal Rule of Criminal Procedure 11, state
that they have reached a Plea Agreement, the terms and conditions of which are as
follows:

1. Charges to which Defendant will Plead Guilty

Defendant agrees to plead guilty to Count Two of Indictment 21-366 (FAB) and
Counts One and Three of Indictment 22-205 (FAB):

Count Two, Indictment 21-366 (FAB):

On or about September 18, 2021, in the United States, in the District of Puerto
Rico and within the jurisdiction of this Court, Juan Manuel Vazquez-Diaz, did
knowingly and intentionally possess with intent to distribute five hundred (500) grams
or more of a mixture and substance containing a detectable amount of cocaine, a

Schedule II Narcotic Drug Controlled Substance in violation of 21 U.S.C. §§ 841(a)(1)
 

USS. v. Vazquez-Diaz 21-366 (FAB) and 22-205 (FAB)

& (b)(1)(B)Gi).

Counts One and Three, Indictment 22-205 (FAB):

From at least in or about the year 2020 and continuing up to and until March
16, 2021, in Puerto Rico, and elsewhere, and within the jurisdiction of this Court, Juan
Manuel Vazquez-Diaz and the co-defendants, did knowingly and intentionally,
combine, conspire, and agree with each other, and other diverse persons, to commit
an offense against the United States, that is, to knowingly and intentionally possess
with intent to distribute five kilograms or more of a mixture and substance containing
a detectable amount of cocaine, a Schedule II Narcotic Drug Controlled Substance in
violation of 21 U.S.C. §§ 841(a)(1) & (b)(1)(A)Gi) and 846.

Count Three: From at least in or about the year 2020 and continuing up to and
until March 16, 2021, in Puerto Rico, and elsewhere, and within the jurisdiction of
this Court, Juan Manuel Vazquez -Diaz, did knowingly combine, conspire, and
agree with others, to commit offenses against the United States in violation of 18
U.S.C. §§ 1956, to wit: to knowingly conduct and attempt to conduct financial
transactions affecting interstate commerce and foreign commerce, which transactions
involved the proceeds of specified unlawful activity, that is, drug trafficking, knowing
that the transactions were designed in whole or in part conceal and disguise the
nature, location, source, ownership, and control of the proceeds of specified unlawful
activity, and that while conducting and attempting to conduct such financial

transactions, knew that the property involved in the financial transactions represented

USAO-DPR-Plea Agreement Page | 2
USS. v. Vazquez-Diaz 21-366 (FAB) and 22-205 (FAB)

"the proceeds a some form of unlawful activity. All in violation of 18 U.S.C. §§
1956(a)(1)(B)() & (h).
1. Stipulation as to the Amount of Narcotics
The United States of America and the defendant stipulate and agree that: as to
Count Two of Indictment 21-366 (FAB) and Count One of Indictment 22-205 (FAB),
the defendant shall be held accountable for conspiring to possess and possessing with
intent to distribute at least fifty kilograms (50KG) but less than one-hundred and fifty
kilograms (150g) of cocaine, a Schedule II Narcotic Drug Controlled Substance.
2. Maximum Penalties

The maximum statutory penalty for the offense charged in Count Two of iW 5

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Indictment 21-366 (DRD) is a term of imprisonment of not less than five (5) yearspa

fine not to exceed the greater of that authorized in accordance with the provisions of

 

Title 18 or five million dollars (5,000,000); and a supervised release term of at least
. four (4) years, all pursuant to 21 U.S.C. §§ 841(a)(1) & (6)(1)(B)Gi) and 846.

The maximum statutory penalty for the offense charged in Count Ane of
Indictment 22-205 (FAB), is a term of imprisonment of not less than ten (10) years and
not more than life; a fine not to exceed the greater of that authorized in accordance
with the provisions of Title 18 or ten million dollars (10,000,000); and a supervised
release term of at least five (5) years, all pursuant to 21 U.S.C. §§ 841(a)(1) &
(b)(1)(A)Gi) and 846.

The maximum statutory penalty for the offense charged in Count Three of

Indictment 22-205 (FAB), is a term of imprisonment of not more than twenty (20)

USAO-DPR-Plea Agreement Page | 3
U.S. v..Vazquez-Diaz 21-366 (FAB) and 22-205 (FAB)

years; a fine of not more than five hundred thousand dollars ($500,000) or twice the
value of the monetary instrument of funds involved in the transportation,
transmission, or transfer, whichever is greater, all pursuant to 18 U.S.C. §§
1956(a)(1)(B)(i) & (h); and a supervised release term of not more than five (5) years,
all pursuant to 18 U.S.C. § 3583.

3. Sentencing Guidelines Applicability

Defendant understands that the sentence will be imposed by the Court in
accordance with 18 U.S.C. § § 3551-86, and the United States Sentencing Guidelines
(hereinafter “Guidelines”), which are advisory pursuant to the United States Supreme
Court decision in United States v. Booker, 543 U.S. 220 (2005). Further, Defendant
acknowledges that parole has been abolished, and that the imposition of Defendant’s
sentence may not be suspended.

4. Special Monetary Assessment —

Defendant agrees to pay a special monetary assessment (“SMA”) of one
hundred dollars ($100.00) per count of conviction. The SMA will be deposited in the
Crime Victim Fund, pursuant to 18 U.S.C. § 3013 (a)(2)(A).

5. Fines and Restitution

The Court may, pursuant to Section 5E1.2 of the Guidelines order Defendant
to pay a fine. The Court may also impose restitution. Defendant agrees to execute and
make available, prior to sentencing, a standardized financial statement (OBD Form
500). The United States will advocate on behalf of any identified victim and comply

with its obligations under the Mandatory Victim Restitution Act of 1996.

USAO-DPR-Plea Agreement Page| 4
U.S. v. Vazquez-Diaz 21-366 (FAB) and 22-205 (FAB)

6. Sentence to be Determined by the Court
Defendant understands that the sentence to be imposed will be determined
solely by the United States District Judge. The United States cannot make and has not
made any promise or representation as to what sentence Defendant will receive. Any
discussions that the parties might have had about possible sentences are not binding in
any way on the Court, and do not constitute representations about what the parties
will seek, or what the actual sentence will be.
7. Recommended Sentencing Guidelines Calculations
After due consideration of the relevant factors enumerated in 18 U.S.C. 8
3553(a), the United States and Defendant submit that the advisory Guidelines
calculations listed below apply to Defendant. However, Defendant acknowledges that

the Court is not required to accept those recommended Guidelines calculations.

 

 

 

 

 

 

 

 

Count Two case 21-366 (FAB) and Counts One and Three case 22-205 (FAB)
21 U.S.C. §§ 841(a)(1) & (b)(1)(B) Gi) and 846; 18 U.S.C. §§ 1956(a)1)(B)@ & (h)
Base Offense Level pursuant to U.S.S.G. § 2D1.1(c)(3) 34
Money Laundering pursuant to U.S.S.G. § 2S1.1(b)(2)(B) 49
Acceptance of Responsibility pursuant to U.S.S.G. §3E1.1 3
TOTAL ADJUSTED OFFENSE LEVEL 33
CH Cat. I | CH Cat. II | CH Cat. | CH Cat.IV | CH Cat.V | CH Cat. VI
135-168 151-188 168-210 188-235 210-262 235-293

 

 

 

 

 

 

 

 

e All counts grouped pursuant to U.S.S.G. § 3D1.2
8. Sentence Recommendation
After due consideration of the relevant factors enumerated in 18 U.S.C.
§ 3553(a), the parties agree to request as to 21-366 (FAB) a sentence of imprisonment

USAO-DPR-Plea Agreement Page| 5
USS. v. Vazquez-Diaz 21-366 (FAB) and 22-205 (FAB)

of 60 months regardless of criminal history category and as to 22-205 (FAB) a
concurrent sentence of imprisonment of 138 months regardless of criminal history
category.

The parties agree that any recommendation by either party for a term of
imprisonment below or above the stipulated sentence recommendation will constitute
a material breach of the Plea Agreement.

9. No Stipulation as to Criminal History Category
The parties do not stipulate as to any Criminal History Category for Defendant.
10. Waiver of Appeal

Defendant knowingly and voluntarily Agtens that, if the imprisonment sentence
imposed by the Court for both cas, 21-366 (FAB) and 22-205 (FAB), is 138 months
or less, Defendant waives the right to appeal any aspect of this case’s judgment and
sentence, including, but not limited to the term of imprisonment or probation,
restitution, fines, forfeiture, and the term and conditions of supervised release.

11. No Further Adjustments or Departures

The United States and Defendant agree that no further adjustments or
departures to Defendant’s total adjusted base offense level and no variant sentence
under 18 U.S.C. §3553—other than any explicitly provided for in this Plea
Agreement—shall be sought by Defendant. The parties agree that any request by

Defendant for an adjustment or departure that is not explicitly provided for in this Plea

USAO-DPR-Plea Agreement Page | 6
U.S. v. Vazquez-Diaz 21-366 (FAB) and 22-205 (FAB)

Agreement will be considered a material breach of this Plea Agreement, and the
United States will be free to ask for any sentence, either guideline or statutory.
12. Satisfaction with Counsel
Defendant is satisfied with counsels, Rafael Castro-Lang in case 21-366 (FAB)
and Ismael Rodriguez in case 22-205 (FAB), Esq., and asserts that both counsels have
rendered effective legal assistance.
13. Rights Surrendered by Defendant Through Guilty Plea
Defendant understands that by entering into this Plea Agreement, Defendant
surrenders and waives certain rights as detailed in this agreement. Defendant

understands that the rights of criminal defendants include the following:

\) a. If Defendant had persisted in a plea of not guilty to the charges,
\ Defendant would have had the right to a speedy jury trial with the
i Yy assistance of counsel. The trial may be conducted by a judge sitting

without a jury if Defendant, the United States and the judge agree.

b. If a jury trial is conducted, the jury would be composed of twelve lay
persons selected at random. Defendant and Defendant’s attorney would
assist in selecting the jurors by removing prospective jurors for cause
where actual bias or other disqualification is shown, or by removing
prospective jurors without cause by exercising peremptory challenges.
The jury would have to agree, unanimously, before it could return a
verdict of either guilty or not guilty. The jury would be instructed that
Defendant is presumed innocent, that it could not convict Defendant
unless, after hearing all the evidence, it was persuaded of Defendant’s
guilt beyond a reasonable doubt, and that it was to consider each charge
separately.

c. Ifa trial is held by the judge without a jury, the judge would find the facts
and, after hearing all the evidence and considering each count separately,
determine whether or not the evidence established Defendant’s guilt
beyond a reasonable doubt. .

USAO-DPR-Plea Agreement Page | 7
  

US. v. Vazquez-Diaz 21-366 (FAB) and 22-205 (FAB)

d. At a trial, the United States would be required to present its witnesses
and other evidence agaffist- Defendant. Defendant would be able to
confront those witnesses and Defendant’s attorney would be able to
cross-examine them. In turn, Defendant could present witnesses and
other evidence on Defendant’s own behalf. If the witnesses for Defendant
would not appear voluntarily, Defendant could require their attendance
through the subpoena power of the Court.

e. Atatrial, Defendant could rely on the privilege against self-incrimination
to decline to testify, and no inference of guilt could be drawn from
Defendant’s refusal to testify. If Defendant desired to do so, Defendant
could testify on Defendant’s own behalf.

14. Stipulation of Facts
The accompanying Stipulation of Facts signed by Defendant is hereby

incorporated into this Plea Agreement. Defendant adopts the Stipulation of Facts and

4) agrees that the facts therein are accurate in every respect. Defendant agrees and accepts

\ / that had the matter proceeded to trial, the United States would have proven those facts

beyond a reasonable doubt.
. 15. Limitations of Plea Agreement
This Plea Agreement binds only the United States Attorney’s Office for the
District of Puerto Rico and Defendant. It does not bind any other federal district, state,
or local authorities.
16. Entirety of Plea Agreement
This written agreement constitutes the complete Plea Agreement between the

United States, Defendant, and Defendant’s counsel. The United States has made no

USAO-DPR-Plea Agreement Page | 8
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USS. v. Vazquez-Diaz 21-366 (FAB) and 22-205 (FAB)

promises or representations except as set forth in writing in this Plea Agreement and.
denies the existence of any other terms and conditions not stated herein.
17. Amendments to Plea Agreement
No other promises, terms or conditions will be entered into between the parties
unless they are in writing and signed by all parties.
18. Dismissal of Remaining Counts
At sentencing should there be any pending counts, and should the Defendant
comply with the terms of this Plea Agreement, the United States will move to dismiss

the remaining counts of the Indictment pending against Defendant in this case.

‘\) 19. Voluntariness of Plea Agreement

Defendant acknowledges that no threats have been made against Defendant and

that Defendant is pleading guilty freely and voluntarily because Defendant is guilty.
20.Breach and Waiver

Defendant agrees that defendant will have breached this Plea Agreement if,
after entering into this Plea Agreement, Defendant: (a) fails to perform or to fulfill
completely each and every one of Defendant’s obligations under this Plea Agreement;
(b) engages in any criminal activity prior to sentencing; or (c) attempts to withdraw
Defendant’s guilty plea. In the event of such a breach, the United States will be free
from its obligation under this Plea Agreement and Defendant will not have the right
to withdraw the guilty plea. Moreover, Defendant agrees that if Defendant is in breach

of the Plea Agreement, Defendant is deemed. to have waived any objection to the

USAO-DPR-Plea Agreement Page | 9
USS. v. Vazquez-Diaz 21-366 (FAB) and 22-205 (FAB)

reinstatement of any charges under the Indictment, Information, or complaint which

may have previously been dismissed or which may have not been previously

prosecuted.
21. Potential Impact on Immigration Status
Pursuant to Federal Rule of Criminal Procedure 11(b)(1)(O), Defendant hereby

agrees and recognizes that if convicted, a Defendant who is not a United States citizen

may be removed from the United States, denied citizenship, and denied admission to--.

the United States in the future.

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Page | 10

USAO-DPR-Plea Agreement
22. Felony Conviction

U.S. v. Vazquez-Diaz 21-366 (FAB) and 22-205 (FAB)

Defendant hereby agrees and recognizes that the plea of guilty in this case will

be recognized as a felony conviction, which will result in the loss of certain rights,

including but not limited to the right to vote in a federal election, to serve as a juror,

to hold public office, and to lawfully possess a firearm.

W. Stephen Muldrow
United States Attorney

 

Teresa S. Wabata-Valladares
Assistant U.S. Attorney

Deputy Chief, Gang Section
Dated: L:\3-Wve

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R. Vance Eaton -

Special Assistant/U.S. Attorney
Dated:_Z2//0/ 23

   

 

 

 

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Counsel for/ Aor nt ipa 366 (FAB))
Dated: _*~ Z

 

 

 

 

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Camifle Garcia-J inne

Assistant U.S. Attor “y
Dated: 2 | 'O[¢

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Ismael Rodriguez

Counsel - Defendant (22-205 (FAB))
Dated: la fe
Dace Vn

Juan Manuel Vazquez- Diaz
Defendant /// /, °

Dated: ‘Lb pe

  
 

Page| 11
USS. v. Vazquez-Diaz 21-366 (FAB) and 22-205 (FAB)

UNDERSTANDING OF RIGHTS

I have consulted with counsel and fully understand all of my rights as to the
charges pending against me. Further, I have consulted with my attorney and fully
understand my rights as to the provisions of the Guidelines that may apply in my case.
I have read this Plea Agreement and carefully reviewed every part of it with my
attorney. My counsel has translated the Plea Agreement to me in the Spanish language

and I have no doubts as to the contents of the agreement. I fully understand this

agreement and voluntarily agree to it.

Date: < [ of Q A dra Wu de Quer ABR

 

 

Juan Manuel Vazques-Diaz
Defendant

I am the attorney for Defendant. I have fully explained Defendant’s rights to
Defendant with respect to the pending charges. Further, I have reviewed the applicable
provisions of the Guidelines and I have fully explained to Defendant the provisions of
those Guidelines that may apply in this case. I have carefully reviewed every part of
this Plea Agreement with Defendant. I have translated the Plea Agreement and
explained it in the Spanish language to the Deteadant who has expressed having no
doubts as to the contents of the agreement. To my knowledge, Defendant is entering
into this Plea Agreement voluntarily, intelligently, and with full knowledge of all

consequences of Defendant’s plea of guilty.

 

 

  

Rafael Castro-Lang Ismael Rodriguez
Counsel for,Defendant (21-366 (FAB)) Counsel for Defendant (22-205 (FAB))
Date_ 27 (4/ A ¥ Date_ 27/4/23

USAO-DPR-Plea Agreement Page | 12
US. v. Vazquez-Diaz 21-366 (FAB) and 22-205 (FAB)

STIPULATION OF FACTS

In conjunction with the submission of the accompanying Plea Agreement in
this case, the Defendant Juan Manuel Vazquez-Diaz admits that he is guilty as charged
in Indictment 21-366 (FAB) and Indictment 22-205 (FAB) and admits the following:

Had this matter proceeded to trial, the United States would have presented
evidence through the testimony of witnesses as well as physical evidence and
documentary evidence, which would have proven beyond a reasonable doubt
Defendant’s guilt.

As to Indictment 21-366 (FAB):

On September 18, 2021, Puerto Rico police in Vega Alta searched a Honda
Accord the Defendant had been. driving. A search of that vehicle revealed four
kilograms of cocaine, which the Defendant knowingly possessed with the intent to
distribute.

As to Indictment2-205 (FAB):

As to Count One, from at least in or about the year 2020 and continuing up to
and until March 16, 2021, Juan Manuel Vazquez-Diaz, also known as “Demente,”
did knowingly and intentionally, combine, conspire, and agree with others, to possess
with intent to distribute five kilograms or more of a mixture and substance containing
a detectable amount of cocaine, a Schedule II Narcotic Drug Controlled Substance in
violation of 21 U.S.C. §§ 841(a)(1) & (b)(1)(A)Gii) and 846.

The object of the drug conspiracy was the distribution of hundreds of kilograms
of cocaine within Puerto Rico and the continental United States for financial gain and

USAO-DPR-Plea Agreement Page| 13
U.S. v. Vazquez-Diaz 21-366 (FAB) and 22-205 (FAB)

profit. Juan Manuel Vazquez-Diaz participated in the conspiracy since the year 2020.
On at least one occasion he sent to the continental United States more than 5 kilograms
of cocaine through SSH Movers, a shipping company located in Dorado, Puerto Rico.
He also invested money in buying kilograms of cocaine.

On March 15, 2021, agents were surveilling a residence located at Jardines de
Dorado, Gardenia Street D-14 in Dorado, Puerto Rico. An individual arrived at the
residence in a Ford E350 Van. The agents observed three individuals concealing
kilograms of cocaine inside five-gallon buckets. The buckets were then placed inside
the van.

Agents followed the van to SSH Movers shipping company. There, agents
arrested three codefendants and seized $28,000 in cash. Simultaneously, agents

executed a search warrant back at the house on Gardenia Street. There, they seized

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approximately 35 kilograms of cocaine and two guns. Defendant Juan Manuel

ie Vazquez-Diaz had just delivered three of those bricks to one of the residents of that

house for further distribution to continental US*based codefendants.

‘ For purposes of this plea agreement Juan Manuel Vazquez-Diaz accepts
responsibility for conspiring to possess with intent to distribute at least fifty kilograms
(50KG) but less than one-hundred and fifty kilograms (150g) of cocaine.

As to Count Three of 22-205, during the same period of time, from at least in or
about the year 2020 and continuing up to and until March 16, 2021, Juan Manuel

Vazquez-Diaz, did knowingly combine, conspire, and agree with others, to conduct

USAO-DPR-Plea Agreement Page | 14
USS. v. Vazquez-Dfaz 21-366 (FAB) and 22-205 (FAB)

and attempt to conduct financial transactions affecting interstate commerce and
foreign commerce, which transactions involved the proceeds of drug trafficking,
knowing that the transactions were designed in whole or in part to conceal and
disguise the nature, location, source, ownership, and control of the proceeds of
specified unlawful activity, and that while conducting and attempting to conduct such
financial transactions, knew that the property involved in the financial transactions
represented the proceeds of some form of unlawful activity. All in violation of 18
U.S.C. §§ 1956(a)(1)(B)@) & (h).

The object of the conspiracy to launder monetary instruments was to conduct
financial transactions with the proceeds of drug trafficking that would conceal and
disguise the nature, location, source, ownership, and control of the proceeds by
transferring the proceeds from the continental United States to co-conspirators in
Puerto Rico.

For purposes of this plea agreement Juan Manuel Vazquez-Diaz accepts
responsibility for conspiring to launder money by conducting financial transactions
with drug trafficking proceeds. Defendant further acknowledges he knew the money
being transferred was the product of specified unlawful activity, specifically, drug
trafficking.

At trial, the United States would have proven beyond a reasonable doubt that

defendant Juan Manuel Vazquez-Diaz is guilty as charged in Count Two of

USAO-DPR-Plea Agreement Page | 15
USS. v. Vazquez-Diaz 21-366 (FAB) and 22-205 (FAB)

Indictment 21-366 (FAB) and Counts One and Three of Indictment 22-205 (FAB).

Discovery for both cases was timely made available to Defendant for review.

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R. Vance Eaton
Special Assistant
Dated: 2//°

 
     

.S. Attorney
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Camille Garcia-J irnénéz

Assistant U.S, At omey
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Rafael Castro- Lang
Counsel for Dee fo
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Ismael Rodriguez

Counsel for Defendant
Dated: “# AGL “Ss

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Juan Manuel Vazq ezsDiaz
Detendant, / fi /2 )
Dated: _ Lf —

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Page| 16
